USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 1 of 24



                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF INDIANA
                                       HAMMOND DIVISION

    UNITED STATES OF AMERICA,

                             Plaintiff,

            v.                                                       CAUSE NOS. 2:13-cr-36 DRL-MGG
                                                                                2:16-cv-538-DRL
    CHRISTOPHER BOUR,

                             Defendant.

                                   AMENDED OPINION AND ORDER1

           In 2013, Mr. Christopher Bour was charged with possessing and producing child pornography.

He pleaded guilty without an agreement to one count of purchasing a child for the production of child

pornography, 18 U.S.C. § 2251A(b), three counts of producing child pornography, 18 U.S.C. § 2251(a),

and one count of possessing child pornography featuring a minor under age 12, 18 U.S.C. § 2252(a)(4).

He was sentenced to terms of life imprisonment, 360 months (on two counts), 180 months, and 120

months—all to run consecutively, for a total of life plus 1020 months.

           After unsuccessfully appealing his sentence, Mr. Bour filed this 28 U.S.C. § 2255 petition to

vacate or correct his sentence. He later filed two supplements to his petition. The government

responded to all three submissions. The case was reassigned to this presiding judge on June 22, 2020.

The court now denies his petition.

                                                BACKGROUND

           Given the procedural nature of Mr. Bour’s requested relief, the court needn’t rehash the grisly

details of his underlying crimes. See United States v. Bour, 804 F.3d 880, 883 (7th Cir. 2015). On February

15, 2013, the government filed a criminal complaint against Mr. Bour charging him with knowingly



1   This amended opinion and order includes a ruling on a certificate of appealability.
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 2 of 24


receiving child pornography, 18 U.S.C. § 2252(a)(2). He was arrested the same day the complaint was

filed.

         Mr. Bour was immediately brought before a magistrate judge for his initial appearance. At the

hearing, the government was present and so was Mr. Bour, though he was not represented by counsel.

The magistrate judge advised him that he was not required to make a statement. He was told he had

the right to an attorney at all stages of his case. When asked if he could afford an attorney and whether

he needed one, he said he was going to hire his own. The magistrate judge then scheduled Mr. Bour’s

detention hearing for five days later and asked Mr. Bour if he could procure an attorney by then. Mr.

Bour said yes. The government read the charges against him.

         No private attorney filed an appearance for Mr. Bour by the time of his scheduled detention

hearing. At the hearing, the magistrate judge asked if Mr. Bour needed appointed counsel. He said he

did. The court then asked Mr. Bour a series of questions about his financial status and ultimately

decided that counsel should be appointed. The detention hearing was rescheduled. The next day,

Ashwin Cattamanchi appeared for Mr. Bour. The parties stipulated to Mr. Bour’s detention and waived

a full hearing on the issue.

         On March 6, 2013, the government filed an indictment against Mr. Bour charging him with

three counts of producing and possessing child pornography. He was arraigned on the charges while

still represented by Mr. Cattamanchi. About two months later, another attorney from the Federal

Community Defender’s office, Matthew Soliday, appeared for Mr. Bour. That same day Mr.

Cattamanchi moved to withdraw, and a day later the court granted his motion.

         On June 5, 2013, the government filed a superseding indictment charging Mr. Bour with five

counts: one count of purchasing a child for production of child pornography, 18 U.S.C. § 2251A(b),

three counts of producing child pornography, 18 U.S.C. § 2251(a), and one count of possessing child

pornography featuring minor under age 12, 18 U.S.C. § 2252(a)(4). Natisha Hillard was charged in the


                                                   2
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 3 of 24


same document with two counts of permitting, as a parent, a child to participate in the production of

child pornography, 18 U.S.C. § 2251(b), and one count of selling a child as a parent for production of

child pornography, 18 U.S.C. § 2251A(a).

        On December 30, 2013, the government filed a plea agreement as to Ms. Hillard. She pleaded

guilty to the three charges against her. A day later, Mr. Bour filed a notice of his intention to plead

guilty to all five charges against him “without a written plea agreement from the government.” ECF

47.

        On January 30, 2014, the court held Mr. Bour’s change of plea hearing at which he pleaded

guilty to all counts against him. The court accepted his guilty plea, and he was adjudged guilty on

counts 2, 3, 4, 5, and 8 of the superseding indictment. His case was referred to the U.S. Probation

Office for preparation of a presentence report.

        The presentence report indicated that Mr. Bour’s offense level was 52—9 levels above a life

sentence recommendation. ECF 59. Sentencing was held on May 15, 2014 before Judge Rudy Lozano.

Mr. Bour was sentenced to life imprisonment on count 2; 360 months on each of counts 3 and 4; 180

months on count 5; and 120 months on count 8—all to be served consecutively for a total of life plus

1020 months.

                                              STANDARD

        In extraordinary situations, the court may vacate, set aside, or correct a prisoner’s sentence. 28

U.S.C. § 2255(a); Hays v. United States, 397 F.3d 564, 566-567 (7th Cir. 2005). The writ of habeas corpus

is secured in Article I, § 9, cl. 2 of the United States Constitution: “The Privilege of the Writ of Habeas

Corpus shall not be suspended, unless when in Cases of Rebellion or Invasion the public Safety may

require it.” Historically, criminal defendants subject to a final conviction were entitled to habeas relief

only if the court that rendered the judgment lacked jurisdiction. Ex parte Watkins, 28 U.S. 193, 202

(1830). The writ has since been expanded to provide prisoners relief from various violations of the


                                                    3
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 4 of 24


Constitution, laws, or treaties of the United States. 28 U.S.C. § 2255(a); Danforth v. Minnesota, 552 U.S.

264, 272-73 (2008); Estelle v. McGuire, 502 U.S. 62, 68 (1991). Such writ, however, is not a substitute

for direct appeal. Doe v. United States, 51 F.3d 693, 698 (7th Cir. 1995).

        When reviewing a petition under 28 U.S.C. § 2255, the court should examine the entire record,

the motion, and other files. The court should hold an evidentiary hearing when the petitioner alleges

facts that, if proven, would entitle him to relief. Torres-Chavez v. United States, 828 F.3d 582, 586 (7th

Cir. 2016); see also 28 U.S.C. § 2255(b). He must do this through a detailed and specific sworn affidavit,

which is a threshold requirement to an evidentiary hearing. Kafo v. United States, 467 F.3d 1063, 1067

(7th Cir. 2006). Allegations that are “vague, conclusory, or palpably incredible” rather than detailed

and specific are not good enough to entitle a petitioner to an evidentiary hearing. Machibroda v. United

States, 368 U.S. 487, 495 (1962). Likewise, when the motion and records conclusively show that the

petitioner is not entitled to relief, the court needn’t hold an evidentiary hearing. See Boulb v. United

States, 818 F.3d 334, 339 (7th Cir. 2016). That is the case here.

                                              DISCUSSION

        A.      Mr. Bour Cannot Establish a Violation of His Sixth Amendment Right to the Effective Assistance
                of Counsel.

        The Sixth Amendment to the United States Constitution guarantees a defendant the right to

counsel. That includes the right to the effective assistance of counsel. McMann v. Richardson, 397 U.S.

759, 771 n.14 (1970). To show a violation of this right, a defendant must show that (1) his counsel’s

representation “fell below an objective standard of reasonableness,” and (2) “but for counsel’s

unprofessional errors, the result of the proceeding would have been different.” Strickland v. Washington,

466 U.S. 668, 688 & 694 (1984). “A defendant’s failure to satisfy either prong is fatal to his claim.”

Ebbole v. United States, 8 F.3d 530, 533 (7th Cir. 1993).




                                                     4
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 5 of 24


                1.      The Record Conclusively Shows that His Counsel’s Representation Didn’t Fall Below an
                        Objective Standard of Reasonableness.

        Mr. Bour argues that his counsel was ineffective by (1) providing erroneous advice to induce

him to plead guilty, (2) applying improper pressure on him to plead guilty, (3) not filing pretrial

motions, (4) not seeking a plea agreement with the government and failing to negotiate a deal in

exchange for information relevant to the investigation, (5) applying improper pressure on him to reject

the private attorney that Mr. Bour’s brother hired, (6) failing to convey that the sentencing guidelines

recommendation would result in a life sentence if Mr. Bour pleaded guilty, (7) failing to research and

convey all elements of Mr. Bour’s charged crimes, and (8) not effectively arguing for the minimum

sentence of 30 years at Mr. Bour’s sentencing hearing.

        There is a strong presumption that Mr. Bour’s counsel, Mr. Cattamanchi and Mr. Soliday,

performed effectively. Coleman v. United States, 318 F.3d 754, 758 (7th Cir. 2003). For Mr. Bour to meet

his burden of proof, he must establish specific acts or omissions of his counsel that constitute

ineffective assistance. Id. To find that Mr. Bour’s guilty plea was involuntary as a result of ineffective

assistance of counsel, his counsel must have given him advice that falls below “prevailing professional

norms.” Id. (citing Chichakly v. United States, 926 F.2d 624, 628 (7th Cir. 1991)). The record is entitled

to a presumption of verity, and Mr. Bour’s statements at his plea colloquy “are presumed to be true.”

United States v. Chavers, 515 F.3d 722, 724 (7th Cir. 2008); United States v. Pike, 211 F.3d 385, 390 (7th

Cir. 2000); see also United States v. Salgado-Campo, 159 F.3d 322, 325 (7th Cir. 1998) (“When, as here, a

defendant wishes to withdraw his plea after he states at a Rule 11 hearing that it was given freely and

knowingly, he faces an uphill battle in persuading the judge that his purported reason . . . is fair and

just.”) (quotations omitted). “Judges need not let litigants contradict themselves so readily; a motion

that can succeed only if the defendant committed perjury at the plea proceedings may be rejected out

of hand unless the defendant has a compelling explanation for the contradiction.” United States v.

Peterson, 414 F.3d 825, 827 (7th Cir. 2005).
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 6 of 24


        The record, including the transcripts from Mr. Bour’s change of plea and sentencing hearings,

establishes that he received objectively reasonable representation and pleaded guilty knowingly and

voluntarily. Mr. Bour argues that he was improperly induced by his counsel to plead guilty; yet, the

court conducted a thorough change of plea hearing at which Mr. Bour was under oath and decided to

plead guilty. The court asked him “has anyone, including your own lawyer, any lawyer for the

government, any government agent or anyone else made any promise or assurance to you of any kind

in an effort to induce or cause you to enter a plea of guilty in this case?” Mr. Bour said, “No.” ECF

93 at 7. The court then asked him “[h]as anyone, including your own lawyer, any lawyer for the

government, any government agent or anyone else attempted in any way to force you to plead guilty

in this case?” He answered, “No.” Id. at 8.

        Mr. Bour now says his plea was improperly induced, though he admits in his affidavit attached

to his petition “[m]y plea was made voluntarily as I did make the decision to plead guilty, but [Mr.]

Soliday erroneously advised me, which lead to my decision to plead guilty.” ECF 127 at 36. A guilty

plea will only be considered involuntary if counsel provided advice that falls below prevailing norms.

See Coleman, 318 F.3d at 758.

        Mr. Bour vaguely asserts that his counsel “insisted that [he] could not challenge the evidence

against [him] and if [he] admitted guilt the judge would give [him] the minimum of 30 years.” ECF

127 at 36. His counsel allegedly told him to “consider it like a game of poker and the Government has

all the aces.” Id. at 38. He was told the government would win at trial and it would just embarrass him.

That all said, Mr. Bour says he wanted to proceed to trial, but Mr. Soliday’s comments improperly

induced him to plead guilty.

        Sometimes advice from counsel is not what a client wants to hear. An honest assessment of a

client’s case is essential for an attorney to advise his client properly. Taking Mr. Bour’s allegations as

true, Mr. Soliday assessed Mr. Bour’s case and examined the evidence to determine that “the


                                                    6
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 7 of 24


[g]overnment has all the aces.” He couldn’t have known that if he didn’t examine the evidence. Mr.

Bour even admits that “the [g]overnment’s evidence against [him] seemed overwhelming[.]” ECF 134-

1 at 4. In Mr. Soliday’s professional opinion, he may have thought proceeding to trial was not in his

client’s best interests, so he presented Mr. Bour with the harsh truth: the evidence against him was

overwhelming. If he was to proceed to trial, Mr. Soliday told Mr. Bour to think about what he would

say to make him look good—advice that any attorney would give a client stacked up against

overwhelming evidence. Vague assertions that Mr. Soliday induced him to plead guilty by advising

him of the serious risks of proceeding to trial are not good enough to vacate an otherwise thorough

plea colloquy.

        The record shows that Mr. Bour pleaded guilty fully informed and satisfied with his counsel’s

performance. He said he fully discussed the charges against him with his attorney. ECF 93 at 6 (“Q: .

. . have you fully discussed those charges and the case in general with your attorney? A: Yes.”). At the

time he pleaded guilty, he was fully satisfied with his counsel: “Are you fully satisfied with the counsel,

representation and advice given to you in this case by Mr. Soliday as your attorney?” He answered,

“Yes.” Id. at 7. His vague and conclusory assertions that Mr. Soliday “used inappropriate pressure to

talk him out” of going to trial are insufficient to show ineffective assistance of counsel and are flat-

out contradicted by Mr. Bour’s sworn testimony to the court.

        Mr. Bour also says Mr. Soliday should have filed pretrial motions but provides no further

details. He doesn’t identify any particular type of motion nor does he suggest that evidence against

him was obtained illegally. Instead, his plea colloquy confirmed that he was satisfied with his counsel’s

representation.

        Mr. Bour next claims his counsel failed to seek a plea agreement with the United States

Attorney of the Northern District of Indiana and the Executive United States Attorney in Washington,

D.C. But no defendant is entitled to a plea agreement from the government. “[T]he successful


                                                    7
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 8 of 24


negotiation of a plea agreement involves factors beyond the control of counsel, including the

cooperation of his client . . . as well as the cooperation of the prosecutor, who has no obligation to

offer such an agreement.” United States v. Hall, 212 F.3d 1016, 1022 (7th Cir. 2000); see also United States

v. Springs, 988 F.2d 746, 749 (7th Cir. 1993) (“Prosecutors need not offer discounts and may withdraw

their offers on whim. Defendants have no substantive right to bargain-basement sentences.”).

        Mr. Bour admitted at his plea hearing that the government made no offers for a plea

agreement. The court asked him “[a]nd the government made no offer for a plea agreement; is that

correct?” Mr. Bour said, “No, correct.” ECF 93 at 7. Mr. Bour fully understood he was pleading guilty

“in the blind,” without a plea agreement. The court confirmed with Mr. Bour that “there [are] no

promises of any kind from the government or the Court in this case; is that correct?” He answered,

“Yes.” Id. at 5.

         Mr. Soliday had no control over whether the government offered Mr. Bour a plea agreement.

Even still, Mr. Bour admits Mr. Soliday requested a plea agreement from Assistant United States

Attorney Jill Koster. ECF 127 at 37. It was rejected. The government confirms a plea agreement was

never on the table because it would have been meaningless given that a low-end of the guideline range

recommendation would still have resulted in a life sentence. ECF 131 at 16. “Per the United States

Attorney himself, the government did not offer Defendant any plea agreement.” Id. There is nothing

that could have been said or done by Mr. Bour’s counsel to secure a plea agreement for Mr. Bour, so

his conduct could not have fallen below an objectively reasonable standard. To that point, Mr. Bour

offers no suggestions on what Mr. Soliday could have done in the alternative to secure a plea

agreement, especially when his offense level was nine levels above a life sentence recommendation.

        Mr. Bour also argues that his original attorney, Mr. Cattamanchi, should have secured a deal

with the government in exchange for giving them the name and address of the female in the illicit

videos. ECF 127 at 41. He doesn’t propose what Mr. Cattamanchi should’ve done. And just because


                                                     8
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 9 of 24


Mr. Bour wanted something in exchange for the information doesn’t mean his attorney’s conduct fell

below an objective standard of reasonableness. The government also explains that Mr. Bour actually

lied to law enforcement when proffering information on the offense. ECF 94 at 21; ECF 131 at 16.

As such, the government had good reason not to offer a deal. With that in mind, Mr. Cattamanchi

advised his client of the next best route to secure a more lenient sentence given the circumstances:

cooperate. Though it seemingly had no affect on the court’s ultimate sentence, it is perfectly within

reason for an attorney to advise his client to cooperate and hope for a more lenient sentence. At least

that way Mr. Bour would be credited for acceptance of responsibility, even if it didn’t change his

effective guideline range.

        Next, Mr. Bour says his counsel pressured him out of accepting the assistance of a private

attorney. “Where the right to be assisted by counsel of one’s choice is wrongly denied, therefore, it is

unnecessary to conduct an ineffectiveness or prejudice inquiry to establish a Sixth Amendment

violation. Deprivation of the right is ‘complete’ when the defendant is erroneously prevented from

being represented by the lawyer he wants, regardless of the quality of the representation he received.”

United States v. Gonzalez-Lopez, 548 U.S. 140, 148 (2006).

        Here, Mr. Bour was free to obtain whoever he wanted to represent him, assuming he could

afford it. At his initial appearance, he told the magistrate judge he would hire a private attorney. When

he showed up to the next hearing unrepresented, the court appointed him an attorney. That attorney

withdrew after another community defender appeared. Having already gone through the process of

one attorney withdrawing, Mr. Bour knew how the process worked. He didn’t request a new attorney

and decided to remain with Mr. Soliday. He could not afford a private attorney, so the magistrate judge

appointed one. At his plea hearing, Mr. Bour confirmed he was satisfied with Mr. Soliday’s

representation.




                                                    9
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 10 of 24


           Mr. Bour points to a couple specific statements by Mr. Soliday that improperly persuaded him

 to turn down the assistance of a private attorney. He says that Mr. Soliday was “nicer than he had ever

 been, but he seemed perturbed that [Mr. Bour] had talked to another attorney about [his] case.” ECF

 127 at 38. Mr. Soliday allegedly said, “[D]on’t you think I am doing a good enough job for you?” Id.

 He then allegedly insisted he could get the government to drop count two, which carried life, and he

 would get 30 years if he accepted guilt. Id. He also said that he could do what the paid attorney could

 and it would save Mr. Bour’s brother a lot of money. ECF 127 at 38. None of these arguments show

 how Mr. Bour’s counsel’s conduct was allegedly unreasonable or below prevailing standards. If

 assumed true, Mr. Bour’s counsel may have been overly nice or “perturbed,” but he undoubtedly had

 a right to defend his capabilities. He said he could do all the same things as the private attorney, but

 he didn’t force Mr. Bour to dismiss his brother’s attorney or prevent his consideration of other

 representation. No appearance by another attorney was filed. As the government argues, Mr. Soliday

 was a federal community defender and had no incentive to persuade Mr. Bour not to take private

 representation. The record shows that Mr. Bour could have retained another attorney, he knew the

 process of having an attorney withdraw, he was satisfied with Mr. Soliday’s representation, and Mr.

 Soliday’s representation did not fall below prevailing norms.

           Next, Mr. Bour says his counsel told him his offense level score but didn’t share with him that

 his guideline range was a life sentence. He argues he was told his guideline score was in the 50s, “but

 [Mr. Soliday] never explained what that meant.” ECF 128 at 5. Mr. Bour cites North Carolina v. Alford,

 400 U.S. 25, 31 (1970), which reiterates that “[t]he standard was and remains whether the plea

 represents a voluntary and intelligent choice among the alternative courses of action open to the

 defendant.” See Boykin v. Alabama, 395 U.S. 238, 242 (1969). Again, the record shows that Mr. Bour’s

 plea was voluntary and that he understood the possible penalties in his case and still chose to plead

 guilty.


                                                     10
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 11 of 24


          At his plea hearing, the court went through each count and the corresponding statutory

 minimum and maximum sentence of imprisonment. For count two, the minimum sentence of

 imprisonment was 30 years and the maximum penalty was life imprisonment. ECF 93 at 11. For

 counts three through five, the minimum was 15 years and maximum 30 years. Id. at 12-14. The court

 reiterated, “So for Counts Three, Four and Five, you have at least 15 years in prison. You understand

 that?” He said, “Yes.” Id. at 14. “And, again, for Count Two, you have at least 30 years in prison. Do

 you understand that?” And he said “Yes.” Id. For count 8, the maximum was 20 years. The court

 concluded “for all of these counts, you’re facing up to life imprisonment . . . Do you understand that?”

 He said, “Yes.” Id. at 15. The court asked, “Any questions about what you’re facing?” He said, “No.”

 Id. “Do you understand that if I accept your plea of guilty and the sentence is more severe than you

 expected, you will still be bound by your plea and will have no right to withdraw it?” He said, “Yes.”

 Id. at 19.

          Though Mr. Bour now says he never discussed with Mr. Soliday how the guidelines would

 apply to him, he admitted differently at the plea hearing. The court asked, “Mr. Bour, did you and

 your attorney talk about how the Sentencing Commission guidelines apply to your case?” He

 responded, “Yes.” Id. at 16. After explaining how the guidelines work, the court again asked, “Have

 you and your attorney talked about how the sentencing guidelines apply to your case?” He answered,

 “Yes.” Id. at 17. And after going through some of the factors the court considers in sentencing, the

 court asked Mr. Bour, “Any questions about the guidelines or how they operate?” He said, “No.” Id.

 at 19. His attempt now to say he wasn’t properly advised of the possibility of a life sentence isn’t

 supported by the record, and is contradicted by it. He admitted to discussing how the guidelines

 applied to him with Mr. Soliday and was told at the hearing the potential penalty of life imprisonment.

 If he had questions or was receiving new information about the possibility of a life sentence, he had

 the opportunity to speak with his attorney at the hearing or ask the court questions. He didn’t.


                                                   11
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 12 of 24


        He also confirmed that no one promised him a specific sentence. “Has anyone, including your

 own lawyer, any lawyer for the government, any government agent or anyone else made any prediction,

 prophecy or promise to you as to what your precise sentence will be?” He answered, “No.” Id. at 20.

 His contention that he was promised a sentence of 30 years is not supported by his sworn testimony

 to the court. As indicated by Mr. Bour’s answers at the hearing, Mr. Soliday advised him on how the

 guidelines applied to his case. Mr. Bour confirmed he wouldn’t be allowed to withdraw his guilty plea

 if the court imposes a sentence he didn’t expect.

         Next, Mr. Bour boldly argues that he perjured himself at his change of plea hearing because

 Mr. Soliday told him to answer “yes” to all his questions. In answering as such at his plea hearing, he

 admitted to an essential element of count two requiring the government to prove that he made an

 offer over the phone. ECF 127 at 40. He says he never made any offer over the phone or by text with

 his co-defendant and would have gone to trial on that count but for Mr. Soliday’s representation.

        Again, the record tells a different story. See Peterson, 414 F.3d at 827 (“a motion that can succeed

 only if the defendant committed perjury at the plea proceedings may be rejected out of hand”). At his

 plea hearing, the government described the facts it intended to prove at trial. The court warned Mr.

 Bour to listen closely as it would ask him to confirm the accuracy of these facts. The government

 stated: “Hillard would testify that she communicated with Bour about getting together via cellular

 telephone, either through phone calls or texts. This testimony would be corroborated by the

 introduction of cellular telephone records for both Hillard and Bour which showed them exchanging

 hundreds of text messages and phone calls during the relevant time period . . . . The evidence would

 show that the offer to exchange custody or otherwise for the defendant to obtain control of Jane Doe

 was communicated or transported using any means or facility of interstate or foreign commerce or in

 or affecting interstate or foreign commerce by any means, those being cellular telephones that the two

 used to text one another back and forth.” ECF 93 at 40, 44.


                                                     12
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 13 of 24


         Mr. Bour confirmed he “listen[ed] and [paid] close attention to the government’s summary of

 facts constituting the crimes charged for each of the counts[.]” Id. at 45. The court asked him, “Do

 you agree with the government’s summary of facts constituting the crimes charged?” He said “Yes.”

 Id. at 45-46. “Any part of it you disagree with?” He said, “No.” Id. The court then confirmed that

 “you [d]id do all of this knowingly and voluntarily?” He responded “Yes.” Id. at 25-26. The court can

 presume the truth of Mr. Bour’s statements at his change of plea hearing. Likewise, Mr. Bour had the

 opportunity to object to facts contained in the presentence report regarding this element, but he didn’t.

 He admitted he received a copy of the indictment and discussed the charges with Mr. Soliday. Id. at 6.

 Mr. Bour’s allegations regarding Mr. Soliday’s advice on the elements of count two are contradicted

 by the record. Given this testimony, Mr. Bour confirmed that Mr. Soliday’s performance didn’t fall

 below an objective standard of reasonableness.

         Mr. Bour also says Mr. Soliday ineffectively argued Mr. Bour’s case at his sentencing hearing.

 He allegedly admitted aggravating factors, acted as a mere spectator, failed to call Dr. Fred S. Berlin

 as an expert, and didn’t argue a downward departure based on a policy disagreement. An attorney isn’t

 required to advance every suggested argument by a client. “For judges to second-guess reasonable

 professional judgments and impose on appointed counsel a duty to raise every ‘colorable’ claim

 suggested by a client would disserve the very goal of vigorous and effective advocacy that underlies

 [caselaw].” Jones v. Barnes, 463 U.S. 745, 754 (1983). An attorney “need not advance every argument,

 regardless of merit[.]” Evitts v. Lucey, 469 U.S. 387, 394 (1985).

         Mr. Bour says Dr. Berlin “could have provided testimony and evidence to support a minimum

 sentence” but provides no details as to what that testimony would be. ECF 128 at 11. Mere speculation

 as to what a specialist might testify to is not good enough to show the attorney acted unreasonably in

 not retaining him. Mr. Bour also doesn’t explain whether Dr. Berlin was willing to testify, how much

 he cost, or any details about the actual possibility of retaining him. The court will not second-guess


                                                     13
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 14 of 24


 Mr. Soliday’s decision to not retain Dr. Berlin based on mere speculation that he could and would

 testify on Mr. Bour’s behalf.

         Mr. Bour then says Mr. Soliday should have advanced an argument that the victim was too

 young to be harmed or damaged, along with a policy disagreement with child pornography sentences

 under the guidelines. “Presenting this disagreement with the child pornography guidelines in

 conjunction with Dr. Berlin’s testimony, [Mr.] Soliday would have been able to support the requested

 30 year sentence.” ECF 127 at 33.

         Contrary to Mr. Bour’s arguments, his attorney actually did advance these arguments. Mr.

 Soliday requested Mr. Bour be sentenced to the mandatory minimum of thirty years, both in his

 sentencing memorandum to the court and at the sentencing hearing. ECF 63 at 4-5; ECF 94 at 17.

 The memorandum contained two cites to scholarly articles regarding sexual deviance and memories

 of children at a young age. ECF 63 at 3-4. At the sentencing hearing, Mr. Soliday argued there were

 mitigating factors in favor of Mr. Bour, including his lack of criminal history and that he provided the

 U.S. Attorney’s Office information. He spoke of Mr. Bour’s addiction to pornography and that he

 should be given a second chance. He mentioned that his decision to plead guilty without a trial should

 favor a lower sentence than life. ECF 94 at 16. He reiterated his proposed sentence of 30 years. Id.

         Mr. Soliday advocated for a sentence of 30 years and defended it through argument and

 outside authority in his memorandum. Nothing on this record that Mr. Bour points to shows any

 conduct below prevailing standards for an attorney. The circumstances of the crime by themselves

 presented a tall hurdle for Mr. Soliday to overcome. Even so, the record conclusively shows that he

 advanced arguments for Mr. Bour—the very arguments that Mr. Bour now proposes. Just because

 the tactics were not up to Mr. Bour’s par does not mean they fell below an objective standard of

 reasonable. Accordingly, Mr. Bour cannot show a violation of his Sixth Amendment right to the

 effective assistance of counsel.


                                                   14
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 15 of 24


                 2.      Mr. Bour Cannot Establish Prejudice.

         For the prejudice prong, the defendant does not have to show actual innocence or that the

 outcome more likely than not would have been different, only that there is a reasonable probability

 that it would have been different. Benefiel v. Davis, 357 F.3d 655, 662 (7th Cir. 2004). “A reasonable

 probability is a probability sufficient to undermine confidence in the outcome.” Id. (quoting Strickland,

 466 U.S. at 694). In the change of plea context, “to satisfy the ‘prejudice’ requirement, the defendant

 must show that there is a reasonable probability that, but for counsel’s errors, he would not have

 pleaded guilty and would have insisted on going to trial.” Hill v. Lockhart, 474 U.S. 52, 59 (1985).

         Hill explained that the second prong to an ineffective assistance of counsel claim focuses on

 whether counsel’s ineffective representation affected the outcome of the plea process. Id. That

 determination often resembles the inquiry for reviewing ineffective assistance challenges to

 convictions obtained through trial. “[W]hether the error ‘prejudiced’ the defendant by causing him to

 plead guilty rather than go to trial will depend on the likelihood that discovery of [certain] evidence

 would have led counsel to change his recommendation as to the plea.” Id. Thus, where the alleged

 failure of counsel pertains to a particular defense or trial strategy, the prejudice focuses on whether

 that defense would have likely succeeded at trial. Id.

         Here, Mr. Bour argues that the government wouldn’t have proven count two at trial, the count

 he alleges Mr. Soliday never properly researched and conveyed to him the elements. Specifically, he

 says he did not make an offer over the phone to obtain custody of Jane Doe. Thus, the prejudice in

 this context depends on whether this defense would have likely succeeded at trial. See id.

         As an initial note, Mr. Bour voluntarily and knowingly gave up his right to proceed to trial.

 The court asked him, “Do you further understand that by entering a plea of guilty, if that plea is

 accepted by the Court, there will be no trial, and you will have waived or given up your right to a trial,

 as well as those other rights associated with a trial as I have just described to you?” He answered,


                                                     15
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 16 of 24


 “Yes.” Id. at 21. He said his willingness to plead guilty resulted from prior discussions between the

 government lawyer and him and his attorney. Id. at 8.

        Mr. Bour pleaded guilty, at least in part because the evidence against him was overwhelming.

 At his change of plea hearing, he admitted to understanding the elements in count two and conceded

 the factual basis provided by the government that established those elements. The court explained,

 “Do you further understand that the essential elements of those offenses; in other words, what the

 government would have to prove at trial, are: For Count Two, first, that you purchased or obtained

 custody and control of the person identified in Count Two of the superseding indictment; second,

 that you knew that the person identified in Count Two of the superseding indictment would be

 portrayed in a visual depiction assisting another person to engage in sexually explicit conduct; third,

 that in the course of such conduct, the offer to purchase and obtain custody of the minor was

 communicated using a means of interstate commerce; and, fourth, that the person identified in Count

 Two of the superseding indictment at the time of obtaining custody and control was under the age of

 18 years.” ECF 93 at 22. He responded, “Yes.” Id.

        He also admitted facts that would prove these elements. His attorney asked Mr. Bour “with

 regard to Count Two, between the dates of November 1, 2011 and February 14, 2013, did you

 communicate with a Natisha Hillard by way of a telephone to arrange for you to give her money for

 her daughter to allow you to take pictures or video of her daughter in—well, engaging in sexually

 explicit conduct?” Mr. Bour answered “Yes.” Id. at 25. The government said it would intend to prove

 these elements through text messages from Mr. Bour and Ms. Hillard, as well as phone conversations

 and Ms. Hillard’s testimony.

        Mr. Bour says his answers were lies. Even if the court were inclined to credit such a farfetched

 claim, he also had the opportunity to object to facts contained in his presentence report that would’ve

 established those elements. For example, he didn’t object to paragraph 17(j) that stated Mr. Bour


                                                   16
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 17 of 24


 would text Ms. Hillard and ask if he could take Jane Doe to his house to be alone with her. ECF 59

 at 12. He also didn’t object to paragraph 17(k) that explained that Ms. Hillard would call Mr. Bour

 asking if he wanted to see Jane Doe because Ms. Hillard needed money. Id. at 12. Given Mr. Bour’s

 plea colloquy and the overwhelming facts in the record, he hasn’t shown a reasonable probability that,

 but for counsel’s errors, he would not have pleaded guilty and would have insisted on going to trial.

 See Hill, 474 U.S. at 59. His mere insistence he would have gone to trial despite his likelihood of

 conviction on this count isn’t good enough.

         He also says Mr. Soliday should have filed pretrial motions but doesn’t specify what kind. He

 has not sufficiently alleged prejudice for this claim of ineffective assistance because he doesn’t explain

 how the outcome of any pretrial motion would have changed his decision to plead guilty.

         Likewise, even if Mr. Soliday applied improper pressure on Mr. Bour to reject representation

 from a private attorney, Mr. Bour hasn’t shown a reasonable probability that the outcome would have

 been different. He doesn’t allege innocence or that evidence was obtained illegally. As the record

 shows, he was stacked up against overwhelming evidence and faced a guideline recommendation of

 life imprisonment. An attorney different from Mr. Soliday would have also been tasked with the same

 scenario. There’s nothing to suggest a new attorney would have advised Mr. Bour to proceed to trial—

 not when doing so would’ve been meritless and perpetuated the harm against the victim and others.

         That said, Mr. Bour advances other arguments not specifically related to his success at trial (or

 pretrial strategy) but focused on his lack of knowledge of the consequences of pleading guilty. In Lee

 v. United States, 137 S. Ct. 1958, 1962 (2017), the Supreme Court decided whether a defendant pleading

 guilty under erroneous advice that he wouldn’t be deported could establish prejudice by alleging he

 would’ve gone to trial for a shot at not being deported, despite the overwhelming evidence against

 him. The Court distinguished that case from Hill:

         The dissent contends that a defendant must also show that he would have been better
         off going to trial. That is true when the defendant’s decision about going to trial turns
                                                     17
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 18 of 24


         on his prospects of success and those are affected by the attorney’s error—for
         instance, where a defendant alleges that his lawyer should have but did not seek to
         suppress an improperly obtained confession . . . . Not all errors, however, are of that
         sort. Here [the defendant] knew, correctly, that his prospects of acquittal at trial were
         grim, and his attorney’s error had nothing to do with that. The error was instead one
         that affected [the defendant’s] understanding of the consequences of pleading guilty.
         The Court confronted precisely this kind of error in Hill . . . . Rather than asking how
         a hypothetical trial would have played out absent the error, the Court considered
         whether there was an adequate showing that the defendant, properly advised, would
         have opted to go to trial. The Court rejected the defendant’s claim because he had
         “alleged no special circumstances that might support the conclusion that he placed
         particular emphasis on his parole eligibility in deciding whether or not to plead guilty.”

 Id. The Court found “unusual circumstances” in Lee in that the defendant placed a particular emphasis

 on deportation. The Court said “[t]here is no question that deportation was the determinative issue in

 [the defendant’s] decision whether to accept the plea deal.” Id. (quotations omitted). This was evinced

 by the defendant’s plea colloquy. The trial court had warned him that a conviction could result in

 deportation. When the court then asked him if that affected his decision to plead guilty or not, he

 answered “Yes.” Id. at 1968. He continued to plead guilty only after counsel assured him that the

 judge’s statement was a standard warning. The Court found “no reason to doubt the paramount

 importance [the defendant] placed on avoiding deportation.” Id. at 1969.

         Here, there are no unusual circumstances akin to Lee. Mr. Bour’s plea colloquy dispenses with

 any concerns that he placed paramount importance on a particular consequence of pleading guilty. He

 pleaded guilty “in the blind” with no agreement, recommendation, or promise by the government.

 But now, Mr. Bour alleges he wasn’t properly informed of the consequences of pleading guilty.

         The only specific allegation of prejudice he puts forth is that he wouldn’t have pleaded guilty

 if he was advised of the possibility of a life sentence (instead of the 30-year sentence he says Mr.

 Soliday promised him). This would be important information to consider before pleading guilty. That’s

 why the court confirmed he knew the potential penalty of a life sentence before proceeding with his

 plea.



                                                    18
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 19 of 24


         A defendant doesn’t get two bites at the apple. The first time around, Mr. Bour pleaded guilty

 fully advised of the consequences, as evinced by the plea colloquy. After receiving a sentence he didn’t

 expect—life imprisonment plus 1020 months—he now says he would’ve “rolled the dice” and tried

 for acquittal. He has not shown, however, that “but for counsel’s errors, he would not have pleaded

 guilty and would have insisted on going to trial.” Hill, 474 U.S. at 59.

         According to Mr. Bour, he “had no chance of receiving a sentence of less than life, so under

 the circumstances [he] had no reason to plead guilty and not challenge the strength of the

 Government’s evidence at trial. [His] personal choice to roll the dice is enough to satisfy the

 ‘reasonable probability’ standard.” ECF 134-1 at 23. Were this true, none of Mr. Bour’s proposed

 sentencing tactics, like retaining Dr. Berlin, would have affected his sentence and thus he experienced

 no prejudice. But as he acknowledges later, there could be at least one tactic for choosing to plead

 guilty: “pleading will shield a client from the harshest penalty.” ECF 128 at 6. Indeed, where a

 defendant faces life imprisonment with no agreement from the government and overwhelming

 evidence against him, the wisest decision may be to plead guilty. In that case, the defendant not only

 shows the court he is accepting responsibility, but he also saves the victim from further trauma and

 public embarrassment. He saves the court and the government from expending resources on a trial.

 Mr. Soliday argued as such at Mr. Bour’s sentencing hearing. Surely, a court would take these

 circumstances into consideration when imposing a sentence. But that’s not to say it will ultimately

 result in a favorable sentence to the defendant.

         Mr. Bour’s decision to plead guilty was not hinged on a promise or belief that he was going to

 receive a sentence of 30 years. See ECF 93 at 7 (Mr. Bour admitting no one made any promises or

 assurances to induce him to plead guilty); see also ECF 93 at 20 (Mr. Bour admitting no one made any

 prediction or promise as to what his precise sentence will be). His after-the-fact regret to not “roll the




                                                    19
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 20 of 24


 dice” and go to trial is not enough to show a reasonable probability he would’ve went to trial had it

 not been for Mr. Soliday’s alleged errors.

         Finally, as the government argues and as the record shows, Mr. Bour was not going to receive

 a plea agreement under any circumstance. His offense level was nine levels above a life imprisonment

 recommendation. Any agreement to reduce that would have been meaningless, unless the government

 would’ve been open to more than a nine-level reduction, which it clearly refutes. His insistence that

 his attorney could’ve secured him a deal is misplaced. An attorney can do his best, but he can’t do the

 impossible. Mr. Bour hasn’t shown that if he received effective counsel he might have secured a

 beneficial plea agreement. As such, he experienced no prejudice.

         B.      Mr. Bour Wasn’t Denied Counsel at a Critical Stage of the Proceedings Against Him.

         The Sixth Amendment provides a defendant the right to have counsel assist him in criminal

 proceedings. The right attaches at a defendant’s initial appearance. “[A] criminal defendant’s initial

 appearance before a judicial officer, where he learns the charge against him and his liberty is subject

 to restriction, marks the start of adversary judicial proceedings that trigger attachment of the Sixth

 Amendment right to counsel.” Rothgery v. Gillespie Cty., 554 U.S. 191, 213 (2008). Attachment refers to

 the moment formal judicial proceedings have begun, which is distinct from a critical stage. A critical

 stage is a postattachment proceeding where counsel must be present unless the defendant waives his

 right. Id. at 211. Rothgery determined that Texas’s article 15.17 hearing—similar to an initial appearance

 in the federal context—plainly signals attachment, though it is not itself a critical stage. Id. at 195, 212.

         Here, Mr. Bour argues that he was not provided counsel at his initial appearance and that

 “[c]ounsel’s absence at this critical stage of the criminal prosecution is per se constitutional error.”

 ECF 127 at 35. An initial appearance may start the adversarial proceedings against a defendant, but it

 is not a critical stage requiring counsel to be present with defendant. Rothgery made this clear. Id. at




                                                      20
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 21 of 24


 212; see also United States v. Todd, 424 F.3d 525, 530 (7th Cir. 2005) (explaining when a proceeding is a

 critical stage).

          At Mr. Bour’s initial appearance, the government appeared by Assistant United States Attorney

 Jill Koster. Mr. Bour appeared without an attorney. The magistrate judge explained that the purpose

 of the proceeding was to inform Mr. Bour of the charges against him, determine the need for counsel,

 and to set bail and conditions of release. He was advised he had the right to an attorney and not to

 make a statement. He was told he had the right to be represented by an attorney even at the initial

 appearance. He was asked if he needed a court-appointed attorney but said he would retain his own.

 The government read the charges against him. The magistrate judge didn’t rule on the subject of

 detention but instead rescheduled a hearing on the subject for a couple days later so that Mr. Bour

 could hire an attorney in the meantime. At that scheduled detention hearing, Mr. Bour appeared again

 without an attorney and this time requested a court-appointed counsel. ECF 6. The court agreed,

 appointed him counsel and rescheduled the detention hearing for two days later. Mr. Bour then

 stipulated to probable cause and detention and waived a full hearing on the issue. ECF 8.

          Mr. Bour wasn’t confronted in any way at his initial appearance. He didn’t enter a plea or have

 the opportunity to argue for release. He was simply advised of the charges against him, and the court

 asked him whether he would need a court-appointed counsel. Thus, under established precedent, Mr.

 Bour’s Sixth Amendment right to counsel was not violated as the initial appearance was not a critical

 stage.

          C.        Mr. Bour Waived Argument that 18 U.S.C. § 2251(a) is Unconstitutional and That His
                    Indictment Was Defective.

          Without any explanation, Mr. Bour filed two supplemental motions purportedly under Fed.

 R. Civ. P. 15(d) three years after the filing of his motion to vacate under 28 U.S.C. § 2255. See ECF

 127, 138, 141. Because all petitions under 28 U.S.C. § 2255 are subject to a one-year statute of



                                                    21
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 22 of 24


 limitations, the court finds that Mr. Bour waived his arguments included in these supplemental

 motions. 28 U.S.C. § 2255(f).

         Mr. Bour cites Fed. R. Civ. P. 15(d): “On motion and reasonable notice, the court may, on just

 terms, permit a party to serve a supplemental pleading setting out any transaction, occurrence, or event

 that happened after the date of the pleading to be supplemented.” But Mr. Bour’s two supplemental

 motions include two new constitutional challenges to his conviction, not “any transaction, occurrence,

 or event that happened after the date of the pleading to be supplemented.” There’s nothing to suggest

 that he couldn’t have brought those arguments when he first filed his § 2255 petition, save for the

 government’s argument that they were procedurally barred.

         Mr. Bour’s supplements don’t relate back to the filing of his original petition. “An amended

 habeas petition, we hold, does not relate back (and thereby escape AEDPA’s one-year time limit)

 when it asserts a new ground for relief supported by facts that differ in both time and type from those

 the original pleading set forth.” Mayle v. Felix, 545 U.S. 644, 650 (2005). The purpose of the one-year

 statute of limitations is to secure the finality of criminal convictions. See Rhines v. Weber, 544 U.S. 269,

 276 (2005).

         To be sure, even Mr. Bour’s arguments about a defective indictment (due to lack of a

 jurisdictional hook) and constitutional challenge to 18 U.S.C. § 2251 are waived, notwithstanding the

 statute of limitations for habeas petitions. A defective indictment does not deprive a court of its

 jurisdiction, see United States v. Muresanu, 951 F.3d 833, 839 (7th Cir. 2020), so failure to raise such a

 challenge constitutes waiver. As such, Mr. Bour waived his argument that his indictment was defective.

         As to the constitutionality of 18 U.S.C. § 2251(a), Mr. Bour procedurally defaulted this

 argument by not raising it on direct appeal. See Bousley v. United States, 523 U.S. 614, 622 (1998) (allowing

 procedurally defaulted claims only when defendant shows cause, prejudice, or innocence). He makes




                                                      22
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 23 of 24


 no argument why he didn’t raise the constitutional argument on direct appeal. Accordingly, his

 supplemental arguments are barred.

         D.      Certificate of Appealability.

         Under Section 2255 Habeas Corpus Rule 11, the court must consider whether to grant or deny

 a certificate of appealability. If the court issues a certificate, the court must state the specific issue or

 issues that satisfy the showing required by 28 U.S.C. § 2253(c)(2). When a petition is dismissed on

 procedural grounds, the petitioner must show that reasonable jurists would find it debatable (1)

 whether the court was correct in its procedural ruling and (2) whether the petition states a valid claim

 for denial of a constitutional right. Slack v. McDaniel, 529 U.S. 473, 484-85 (2000). When a petition is

 dismissed on the merits, the petitioner must show “that reasonable jurists would find the district

 court’s assessment of the constitutional claims debatable or wrong.” Id. at 484. Here, there is no basis

 for finding that reasonable jurists would debate the court’s rulings on Mr. Bour’s § 2255 petition.

 Furthermore, in his request for a certificate of appealability, Mr. Bour doesn’t advance any arguments

 to the contrary; he simply says he “believes this order raises appealable issues” (ECF 149). Mr. Bour

 hasn’t made the required showing, so the court denies him a certificate of appealability.

                                                 CONCLUSION

         Petitions under 28 U.S.C. § 2255 are meant for extraordinary circumstances, when a

 defendant’s imprisonment stems from a constitutional violation, not a last-ditch effort to avoid

 imprisonment on underlying crimes. Mr. Bour’s sentence of imprisonment wasn’t the result of any

 constitutional violation. Accordingly, the court DENIES Mr. Bour’s motion to vacate his sentence

 (Crim. ECF 127) and GRANTS his motion for leave to file excess pages (Crim. ECF 134), as the court

 has considered his excess pages in ruling on his motion to vacate. The court DENIES his request for

 a certificate of appealability (ECF 149). This order terminates the civil case (Cause No. 2:16-cv-538-

 DRL).


                                                      23
USDC IN/ND case 2:13-cr-00036-DRL-APR document 150 filed 12/15/20 page 24 of 24


       SO ORDERED.

       December 15, 2020                   s/ Damon R. Leichty
                                           Judge, United States District Court




                                      24
